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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 IVY COACH INC.,

                               Plaintiff,
                                                          Civil Action No. 1:23-cv-09730-JPC-RFT
        v.
                                                          DEFAULT JUDGMENT AND
 VALERII KAFIDOV a/k/a VALERII                            PERMANENT INJUNCTION
 KAFIDOFF d/b/a BEST COLLEGE
 ADMISSION CONSULTANTS and DOES 1-
 10,
                          Defendants.


       Upon Plaintiff Ivy Coach Inc.’s (“Plaintiff”) Motion for Default Judgment and Permanent

Injunction Against Defendant Kafidov, the Memorandum of Law in support thereof, the

supporting Declaration of Margaret Scoolidge, Esq., and the entire record herein, and for the

reasons stated by the Court at the July 2, 2024 hearing on Plaintiff’s motion,

       IT IS HEREBY ORDERED as follows:

       1.      Plaintiff’s Motion for Default Judgment and Permanent Injunction Against

Defendant Valerii Kafidov a/k/a Valerii Kafidoff d/b/a Best College Admission Consultants

(“Defendant Kafidov” or “Defendant”) is GRANTED;

       2.      Defendant is liable to Plaintiff for violation of Section 43(a) of the Lanham

Act (15 U.S.C. § 1125(a));

       3.      Defendant is liable to Plaintiff for violation of Section 349 of the New York

General Business Law;

       4.      Defendant is liable to Plaintiff for violation of New York Common Law Libel.

       5.      In addition, Defendant, its agents, representatives, servants, employees, and all

others in active concert or participation with Defendant, are permanently enjoined and

restrained from:
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               (a)      Publishing, displaying, distributing or disseminating false, misleading, and

       deceptive statements concerning Plaintiff and Plaintiff’s services on Defendant’s website

       www.bestcollegeadmissionconsultants.com, or any other website owned or controlled by

       Defendant;

               (b)      Assisting, aiding, or abetting any other person or business entity in

       engaging in or performing any of the activities referred to in subparagraph (a) above.

       6.      Plaintiff’s Third Cause of Action and Fourth Cause of Action in the operative

pleading (First Amended Complaint (ECF Doc. 5)) are dismissed without prejudice.

       7.      Defendants Does 1-10 are dismissed without prejudice.

       8.      Each party shall bear their own fees and costs.




                 8th
SO ORDERED this ________________day      July
                                    of _________________, 2024.



                                                                     ______________________________
                                                                     HON. JOHN P. CRONAN
                                                                     United States District Judge




       The Clerk of Court is respectfully directed to close Docket Number 25 and to close this case.
